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 4                                  UNITED STATES DISTRICT COURT
 5                                         DISTRICT OF NEVADA
 6                                                    ***
 7     UNITED STATES OF AMERICA,                                 Case No. 2:16-cr-00046-GMN-PAL
 8                                            Plaintiff,
              v.                                                             ORDER
 9
       CLIVEN BUNDY, et al.,                                      (Mot. for Joinder – Dkt. ##468)
10
                                           Defendants.
11

12            This matter is before the Court on Defendant Joseph D. O’Shaughnessy Motion for
13     Joinder (Dkt. #468) to Defendant Ryan W. Payne’s Motion to Sever (Dkt. #460). This Motion is
14     referred to the undersigned pursuant to 28 U.S.C. § 636(b)(1)(A) and LR IB 1-3 and 1-7 of the
15     Local Rules of Practice. The Government filed a Response (Dkt. #511) opposing Payne’s
16     Motion, and incorporating its arguments to Defendant O’Shaughnessy’s request for joinder. To
17     avoid serial motions on the same matter, the Court finds good cause to grant the request to join in
18     Payne’s Motion. The government need not file a separate response unless the joinder raises new
19     or different arguments than the motion for which the request to join is granted.
20            Accordingly,
21            IT IS ORDERED: Defendant Joseph D. O’Shaughnessy Motion for Joinder (Dkt. #468)
22     is GRANTED. The Government shall not be required to file a separate response, and its
23     Response (Dkt. #511) to Defendant Ryan W. Payne’s Motion to Sever (Dkt. #460) shall serve as
24     its response to the Defendant granted leave to join.
25            Dated this 14th day of June, 2016.
26
                                                               PEGGY A. LEEN
27                                                             UNITED STATES MAGISTRATE JUDGE
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